         Case 1:11-cr-00578-LMB Document 1 Filed 12/13/11 Page 1 of 2 PageID# 1

                                                                                           FILED
                         IN THE UNITED STATES DISTRICT COURT F^)R THE IN OPEN COURT

                                 EASTERN DISTRICT OF VIRGINIA
                                                                                                   2011

                                           Alexandria Division
                                                                                 CLERK, U.S. DISTRICT COURT
                                                                                   ALEXANDRIA. VIRGINIA
UNITED STATES OF AMERICA
                                                            CRIMINAL NO. I:llcr578

                                                            Count 1: 18 U.S.C. § 2423(a)
RAMON RAUDEL CAMPOS MURILLO,                                (Transportation of a Minor for Prostitution)

       a/k/a "Raudel,"                                      Count 2: 18 U.S.C. § 2421
       a/k/a "Chilango,"                                    (Transportation of Individual for Prostitution)

               Defendant.



                            DECEMBER 2011 TERM - at Alexandria, Virginia

                                             INDICTMENT


                                                 Count 1


                               (Transportation of a Minor for Prostitution)

       THE GRAND JURY CHARGES THAT:

       In and around August and September, 2010, in the Eastern District of Virginia, RAMON

RAUDEL CAMPOS MURILLO, also known as "Raudel" and "Chilango," the defendant, knowingly

transported E.A., who had not attained the age of 18 years, in interstate commerce, with the intent that

E.A. engage in prostitution.



       (In violation of Title 18, United States Code, Sections 2 and 2423(a).)
             Case 1:11-cr-00578-LMB Document 1 Filed 12/13/11 Page 2 of 2 PageID# 2




                                                    Count 2


                                 (Transportation of Individual for Prostitution)

          THE GRAND JURY FURTHER CHARGES THAT:

          In and around, October, 2009, in the Eastern District of Virginia, RAMON RAUDEL CAMPOS

MURILLO, also known as "Raudel" and "Chilango," the defendant, knowingly transported G.R., in

interstate commerce, with the intent that G.R. engage in prostitution.



      (In violation of Title 18, United States Code, Sections 2 and 2421.)



                                                         A TRUE BILL
                                                                Pwt^rt tothe r-Gov<*m\mUi:U
                                                              the ori-mal <>rthis pa^ has b«cn Fed
                                                                 ur*er seal « Uq» Clerks Qfikc,

                                                         Foreperson

      Neil H. MacBride
      United States Attorney


By:               9—
      Marc JXBirnbaum
      Speqial-Assistant United States Attorney




      Jonathan Fahey
      Assistant United States Attorney
